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13                               UNITED STATES DISTRICT COURT

14                              NORTHERN DISTRICT OF CALIFORNIA

15                                     OAKLAND DIVISION

16 THE APPLE IPOD ITUNES ANTITRUST             )   Lead Case No. C-05-00037-YGR
   LITIGATION                                  )
17                                             )   CLASS ACTION
                                               )
18 This Document Relates To:                   )   [PROPOSED] ORDER GRANTING
                                               )   PLAINTIFFS’ ADMINISTRATIVE
19               ALL ACTIONS.                  )   MOTION TO SEAL PORTIONS OF A
                                               )   DOCUMENT RELATING TO PLAINTIFFS’
20                                                 OPPOSITION TO DEFENDANT APPLE’S
                                                   MOTIONS IN LIMINE NOS. 1-3 AND TO
21                                                 EXCLUDE AND STRIKE EVIDENCE

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               Case 4:05-cv-00037-YGR          Document 824-2          Filed 10/14/14   Page 2 of 2




           1          Before the Court is Plaintiffs’ Administrative Motion to File Under Seal. Specifically,

           2 Plaintiffs seek leave to file under seal portions of the following:

           3        Title                                            Filed Under Seal
           4        Declaration of Dr. John P.J. Kelly in Support    Partially Sealed
                    of Defendant’s Renewed Motion for
           5        Summary Judgment, dated Jan. 18, 2011
           6        Expert Report of Dr. John P.J. Kelly, dated      Partially Sealed
                    July 19, 2013
           7

           8          There being good cause shown based on the arguments presented in the motion, the pleadings

           9 on file, and any other relevant matter, the Court GRANTS Plaintiffs’ Administrative Motion to File

       10 Under Seal.

       11             IT IS SO ORDERED.

       12 DATED: _________________________                        ____________________________________
                                                                  THE HON. YVONNE GONZALEZ ROGERS
       13                                                         UNITED STATES DISTRICT JUDGE
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976979_1        [PROPOSED] ORDER GRANTING PLTFS’ ADMIN MTS PORTIONS OF A DOC RE TO PLTFS’ OPPO TO
                APPLE’S MIL NOS. 1-3 AND TO EXCLUDE AND STRIKE EVIDENCE - C-05-00037-YGR                     -1-
